        Exhibit 18



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                                 OFFICE OF THE CIRCUIT EXECUTIVE
                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

JAMES N. ISHIDA                   1 1 00 EAST MAIN STREET, SUITE 6 1 7
 CIRCUIT EXECUTIVE                 RICHMOND, VIRGINIA 2321 9·3517


                                          January 16, 2019



Ms. Caryn Strickland
Office of the Federal Public Defender
129 West Trade Street, Room 300
Charlotte, NC 28202

Dear Caryn:

        I write to inform you that the counseling period ended on January 14, 2019.

      In accordance with Chapter X, § 8E, of the Consolidated Equal Employment Opportunity
and Employment Dispute Resolution Plan of the United States Court ofAppeals for the Fourth
Circuit (November 2018) ("the Plan"), I am formally advising you that the counseling period is
concluded. I also write to advise that you have the right to file a request for mediation with me
under Chapter X, § 9A of the Plan.

      If you wish to pursue this matter, your request for mediation must be filed with me within
15 days after receiving this notice, and in the form prescribed by Chapter X, § 9A of the Plan.

                                            Best regards,




cc:    Honorable Roger L. Gregory
       Anthony Martinez
       Kim Llewellyn




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